Case 2:15-cv-05346-CJC-E Document 438-36 Filed 10/09/20 Page 1 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28957




                Exhibit 1-,,
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment


       U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                 Evidence Packet P.0681
Case 2:15-cv-05346-CJC-E Document 438-36 Filed 10/09/20 Page 2 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28958




                                                                     Evidence Packet P.0682
Case 2:15-cv-05346-CJC-E Document 438-36 Filed 10/09/20 Page 3 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28959




                                                                     Evidence Packet P.0683
